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               5.      Throughout my tenure at Janssen, employees of Janssen have been

required to sign agreements obligating them to disclose promptly              inventions that are

invented in the course of their employment             ; assigning rights in such inventions

        ; and agreeing to execute further assignments and related documents as requested. The

further assignments typically occur after a patent application has been filed and/or a patent has

issued; for purposes of documenting and publicly recording ownership of a particular patent, it is

preferable to have an assignment document that specifically mentions the application or patent.




               6.      All six inventors of the '083 patent signed such agreements. Attached as

Exhibit A are the employment agreements of the four inventors who began working at Janssen

since the acquisition of Centocor, Inc., by J&J: David Epstein, Roger Monsell, Christopher

Marsh, and Sadettin Ozturk. In all four of these agreements, paragraph 1 contains the obligation

to disclose inventions and the assignment of title to inventions. Paragraph 3 requires the

employees to execute additional assignments and other instruments as requested.

               7.




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                 8.     For example, Janssen employees                                     disclose

inventions              by means of an invention disclosure form addressed to me. This invention

disclosure form is on Janssen letterhead and indicates that its contents are Janssen confidential

information. The inventors of the '083 patent submitted such an invention disclosure to me in

May 2004. Since Janssen was then Centocor, Inc., the disclosure is on Centocor letterhead and

states that its contents are Centocor confidential information. A copy of this invention disclosure

foam (redacted to remove information protected by the attorney-client privilege) is attached

hereto as Exhibit B. The disclosure lists five of the six inventors of the '083 patent. Inventor

Marsh was added at a later time, as is not uncommon in patent prosecution.

                9.      In addition, Janssen employees regularly

execute additional assignment of ownership documents on request (paragraph 3 of the

agreements in Exhibit A)

                                   With respect to the invention claimed in the '083 patent, the

inventors have executed a number of such additional ownership assignment documents:

       •     On August 17, 2005, Susan Lenk executed an assignment referencing provisional
             application No. 60/623,718 (to which the '083 patent claims priority) naming
             "Centocor, Inc." as assignee. That assignment document is attached hereto as Exhibit
             C.

       •     In June and July 2007, each of the inventors executed an assignment document in
             connection with a Canadian patent application for the invention disclosed in the '083
             patent. These assignments documents name "Centocor, Inc." as assignee. They are
             attached hereto as Exhibit D.

       •     On June 3, 2009, Roger Monsell executed an assignment document referencing non-
             provisional application No. 11/260,788 (which matured into the '083 patent) naming
             "Centocor, Inc." as assignee. That assignment document is attached hereto as Exhibit
             E.
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        •   On June 8, 2009, Susan Lenk executed an assignment document referencing non-
            provisional application No. 11/260,788 naming "Centocor, Inc." as assignee. That
            assignment document is attached hereto as Exhibit F.

        •   In April and July 2015, each of the inventors executed assignment documents
            referencing the "application for Letters Patent of the United States" entitled
            "CHEMICALLY DEFINED MEDIA COMPOSITIONS," which named "Janssen
            Biotech, Inc. (formerly Centocor, Inc.)" as assignee. These assignments were
            recorded in the USPTO and are attached hereto as Exhibit G.

        •   In August 2015, each of the inventors executed assignment documents referencing the
            `083 patent and stating that each inventor had "by virtue of, inter alia, his [or her]
            employment agreement, assigned his [or her] entire right, title, and interest in the
            invention described in U.S. Patent No. 7,598,083 . . . to JANSSEN BIO TECH, INC.
            (formerly CENTOCOR, INC.)." The August 2015 assignment documents also attach
            and refer to the April/July 2015 assignment documents, and state that "Assignor has
            previously executed an assignment . . . confirming said assignment."


                                               These assignment documents are attached hereto
            as Exhibit H.

               10.     Consistent with these customs and practices, Janssen is the sole assignee

on the face of the vast majority of issued Janssen U.S. patents, with the exception of a small

number of patents that were co-invented with another company. And, with respect to the '083

patent in particular, "Centocor, Inc." is the assignee named on the face of the patent.

Additionally, "Centocor, Inc." is the non-U.S. applicant named on the corresponding

international patent application (WO 2006/050050) and is the named applicant on foreign

counterpart patent applications: European App. No. 1812557, Australian App. No. 2005302516,

Canadian App. No. 2,585,547, and Japanese App. No. 2007-539142).

               11.



                  Specifically, the J&J Law department maintains a database of all J&J patents.

Attached as Exhibit I is a readout from the database of all 218 patents owned in whole or in part


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by Janssen.




               12.     The '083 patent appears at line 69 of Exhibit H. As the exhibit shows,

J&J's internal records indicate that the '083 patent is owned by Janssen Biotech, Inc.

("Originating Company" column). The only applicants or assignees of the '083 patent are

Janssen Biotech, Inc. and its predecessor Centocor, Inc. ("List of Applicants or Assignees at

filing" column).

               13.

                                                      when Janssen patents have been enforced, the

patent infringement lawsuits have been brought in the name of Janssen (together, where

applicable, with a third party co-owner).

               14.     I understand that an issue has arisen in this litigation as to whether, as a

result of the employment agreements attached as Exhibit A, the '083 patent was assigned jointly

to Janssen, J&J, and all other J&J subsidiaries and affiliates. I have never heard anyone at

Janssen or J&J assert such a proposition and this was never Janssen's intention. Assigning

patent rights jointly to a large number of J&J companies would create a number of administrative

burdens and practical difficulties that are entirely unnecessary.

               15.     Joint patent co-ownership by all of the more than 230 J&J operating

companies would make certain practices at the U.S. Patent & Trademark Office ("USPTO")


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cumbersome or unnecessarily burdensome. For example, the filing of a reissue application

requires the consent of all assignees, and that consent must include a showing of ownership by

the assignees. Similarly, a petition to correct the inventorship on a patent requires the consent of

all assignees, which requires a showing of ownership.

               16.     To make such a showing the USPTO requires (pursuant to 37 C.F.R. §

3.73), for each assignee, a statement signed by a person authorized to act on behalf of the

assignee (or the practitioner of record) attaching either documentary evidence of a chain of title

from the original owner to the assignee or a statement specifying where such documentary

evidence was recorded in the assignment records of the USPTO. If a patent were co-owned by

all of J&J's operating companies, J&J would need to make such a showing and obtain consent on

behalf of all J&J companies in order to file a reissue application or correct inventorship.

               17.     Co-ownership by hundreds of distinct companies would also make

licensing technology to third parties similarly cumbersome or unnecessarily burdensome. To

grant an exclusive patent license, all owners of the patent must consent. Obtaining consent on

behalf of more than 230 distinct companies would unduly impede any licensing efforts.

               18.     Furthermore, assigning patent ownership jointly to all of J&J's

subsidiaries would hinder efforts to enforce patents. Under U.S. law, all the owners of a patent

must be joined as plaintiffs in patent infringement litigation. Routinely joining hundreds of J&J

companies as plaintiffs in federal lawsuits, with the attendant need for appropriate internal

approvals and potential for burdensome discovery, would be highly inefficient and undesirable.

Although this problem could be avoided in individual cases by assigning ownership to a single

company prior to filing suit, obtaining these assignments before every patent infringement




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lawsuit would itself be unduly burdensome. This is particularly true because patent litigation is

often brought under time pressure to avoid immediate irreparable harm to the business.

               19.    I understand it has been suggested that co-ownership of Janssen patents by

all of J&J's operating companies would be advantageous because it would permit all J&J

companies to use Janssen inventions withOut a foi iial license. This is not correct. Co-ownership

by hundreds of distinct companies would provide no practical benefits from a freedom to operate

or administrative perspective. In patent law, no writing is required to grant a patent license. As

a result, a J&J company that owns patented technology may informally consent to the use of that

technology by other J&J companies without entering into a written agreement. In practice,

however, we typically do execute written agreements for tax accounting and documentation

purposes when a licensing transaction has significant economic consequences. These same

considerations would call for documentation even if a patent were co-owned by all of J&J's

operating companies. In fact, the documentation would be far more complex and burdensome if

the patents were co-owned by multiple J&J entities. There would be no advantages, and many

unnecessary disadvantages, to such an arrangement.

               20.    I declare under penalty of perjury that the foregoing is true and correct.



Dated: March   7, 2017
                                             Kenneth J. Dow, Esq.




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